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PROB 12C
(PAWP 4/16)

                                 UNITED STATES DISTRICT COURT
                                                     for the
                                        WESTERN DISTRICT OF PENNSYLVANIA

              Petition for Warrant or Show Cause Hearing for Offender Under Supervision

Offender:                    Scott Tyree                                                                   Docket No.:2:02CR00019
Sentencing Judge:            William L. Standish, Senior United States District Judge
Assigned Judge:              Nora Barry Fischer, United States District Judge
Date of Original Sentence:   September 26, 2003
Original Offense:            Count 2: 18 U.S.C. § 2423(b) Travel with Intent to Engage in a Sexual Act with a Juvenile
                             Count 4: 18 U.S.C. §2251(a) Sexual Exploitation of a Minor
Original Sentence:           235 months of imprisonment; 36 months of supervised release
Special conditions:          Substance Abuse Testing, Financial Disclosure, Mental Health Treatment, Sex Offender Treatment, No
                             New Debt/Credit, Sex Offender Registration, Special Assessment, Restitution - Money, No Contact with
                             Minors, Computer/Internet Restrictions, Forfeiture, Financial Address Change to AUSA, Drug
                             Treatment, Polygraph Examination, No Possession of Child Pornographic Materials, No Possession of
                             Pornographic Materials, Reentry Center-Full-Time, Place Restriction Under 18 Present, Search/Seizure,
                             No Contact with Victim, Computer Monitoring Software, Computer Search, Computer Search Warning
                             to Others, Computer Search for Monitoring Software, No Internet Access
Type of Supervision:         Supervised Release                                         Date Supervision Commenced: April 5, 2019
Prior Court History:         3/21/2019: Order; Hearing to Modify Conditions of Release.
                             3/27/2019: Order; Hearing to Modify Conditions of Release.
                             4/03/2019: Order; Modification of Conditions of Release.
                             5/31/2019: Order; Victim Relief Hearing.


                                                  PETITIONING THE COURT

☐ To Issue a Warrant
☐ Petition and Warrant sealed until arrest
 To Schedule a Show Cause Hearing
☐ No Bond is set
☐ To Issue a Summons
☐ Other
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Defendant: Scott Tyree
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THE PROBATION OFFICER BELIEVES THAT THE OFFENDER HAS VIOLATED THE FOLLOWING CONDITION(S)

VIOLATIONS

The defendant shall be placed at Renewal, Inc. for a period of up to 180 days. While at Renewal, the offender shall participate
in any treatment or workforce development programs as directed and shall abide by all rules of the facility.

The defendant also shall abide by the provisions of the Computer Restrictions and Monitoring Program approved by the Court.

The defendant shall participate in a sex offender treatment program, approved by the probation officer, until such time as the
defendant is released from the program by the Court. The defendant shall abide by all program rules, requirements, and
conditions of the sex offender treatment program, including submission to polygraph testing; said testing shall continue
throughout the term of supervision in order to monitor and ensure compliance with the conditions of supervision.

NATURE OF NONCOMPLIANCE

Between April 6, 2019, and May 20, 2019, the defendant accessed a website that allows access to pornographic images and links to live
sexual videos. The undersigned officer confronted the defendant on June 10, 2019. During that meeting, Mr. Tyree admitted that he
accessed the website. Furthermore, Mr. Tyree accessed the website on computers belonging to the school he was attending and at
Renewal, Inc.

Additionally, the defendant submitted to a polygraph examination on June 19, 2019. Two polygraphers determined that the defendant
used countermeasures during the examination to defeat the test. As a result, Mr. Tyree is noncompliant with the condition that requires
him to participate in sex offender treatment.

Therefore, the Probation Office is requesting that a hearing be scheduled with the court for the defendant to show cause as to why
supervised release should not be revoked.




                                                                           I declare under penalty of perjury that the foregoing is true
                                                                           and correct.

                                                                           Respectfully Submitted,
                                                                                                                        Michael Howard
                                                                                                                        2019.07.03
                                                                     By:                                                13:43:25 -04'00'
                                                                                                 Michael Howard
                                                                                               U.S. Probation Officer
                                                                                                           Marcus J. White
                                                                                                           2019.07.03 07:43:04
                                                          Approved By:                                     -04'00'
                                                                                                   Marcus White
                                                                                         Supervisory U.S. Probation Officer
                                                                   Date:                             7/3/2019
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THE COURT ORDERS:
☐ No Action
☐ The Issuance of a Warrant and:
     ☐ Petition and Warrant sealed until arrest
     ☐ No Bond is set
     ☐ Bond is set at ____________
     ☐ Bond is at the discretion of the Magistrate Judge
☐ That the (probationer/supervised releasee) appear at the United States Courthouse, at
______________, Pennsylvania, Courtroom No. ________, ________, Floor, with legal counsel
on ____________ at ____________, to show cause why supervision should not be revoked.
☐ That a Summons be issued and the (probationer/supervised releasee) appear at the United States Courthouse, at Pittsburgh,
Pennsylvania, Courtroom No. ________, ________, Floor, with legal counsel on ____________ at ____________, to show cause why
supervision should not be revoked. The (probationer/supervised releasee) is hereby ordered to abide by the conditions of supervision
which were originally imposed on ____________.
☐ Other : __________________________________________________________________________________________________




                                                                             Nora Barry Fischer, United States District Judge


                                                                                                  Date
